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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Northern District of Georgia

Ramona Thurman Bivins,

 

Plaintiffis)
Vv.

Felicia Franklin, in her individual and official
capacities, Alieka Anderson, in her individual and
official capacities, Gail Hambrick, in her individual and
official capacities, and Clayton County, Georgia,

Civil Action No. 1:22-cv-4149

 

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Defendant(s)

SUMMONS EN A CIVEL ACTION

Clayton County, Georgia

cfo Jeffrey E. Turner, Chairman of the Clayton County Board of Commissioners
112 Smith Street

Jonesboro, GA 30236

TO! (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) —- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Edward D. Buckely and Andrew R. Tate
Buckley Beal LLP
600 Peachtree Street NE, Suite 3900
Atlanta, GA 30308

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

KEVIN P, WEIMER
CLERK OF COURT

Date: 10/18/2022 s/Stephanie Wilson-Bynuimn

 

Signature of Clerk or Deputy Clerk

 

 
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Civil Action No. 1:22-cv-4149

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) CO Ye a fon Con n ty boa Coorg: vai

was received by me on (date) /O/26/f : .

© I personally served the summons on the individual at (place)

 

On (date) ; or

 

1 [left the summons at the individual’s residence or usual place of abode with (name)

. a person of suitable age and discretion who resides there,

 

On (date) . and mailed a copy to the individual’s last known address: or

© Iserved the summons on (name of individual) CK. Cher 6» See df Ah . who is
designated by law to accept service of process on behalf of (name of organization) Cheuk fui Ay

 

 

 

Gert.'. On (date) LO = - ; or
a

O Tretumed the summons unexecuted because : or

 

1 Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: fe Soh 6/L? fay

erver’s signature

ile Ee. faces Jocwer

vinted name and title

WHA, + GO yO

Server’s address

Additional information regarding attempted service, etc:
